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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

 

RICK HARRISON, JOHN BUCKLEY III,
MARGARET LOPEZ, ANDY LOPEZ,

KEITH LORENSEN, LISA LORENSEN,
EDWARDS LOVE, ROBERT MCTUREOUS,
DAVID MORALES, GINA MORRIS,
MARTIN SONGER, JR., SHELLY SONGER,
JEREMY STEWARD, KESHA STIDHAM,
AARON TONEY, ERIC WILLIAMS, CARL
WINGATE, AND TRACY SMITH, as Personal
Representative of the Estate of Rubin Smith,

Plaintiffs,

VS.

THE REPUBLIC OF SUDAN,
Defendant,

VS.

NATIONAL BANK OF EGYPT,
New York Branch,

Respondent.

 

 

Case No. 1:13-cv-03127 (AT)

TURNOVER ORDER

 

 

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AND NOW, this 23rd day of October, 2013, upon Plaintiffs’ Petition for

Turnover Order Against National Bank of Egypt Pursuant to 28 U.S.C. § 1610(g), CPLR §

5225(b) and Federal Rule of Civil Procedure 69(a), the Motion is GRANTED. The Court hereby

finds and orders as follows:

1. Plaintiffs obtained a judgment in the District Court for the District of Columbia in

the amount of $314,705,896, plus interest (the “Judgment’’), and the entire principal amount of

the Judgment remains unsatisfied.

2. Funds held at the National Bank of Egypt, New York Branch, are subject to

 
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execution and attachment under the Foreign Sovereign Immunities Act because the owner of the

funds, Ze, is an agency and instrumentality of the Republic of Sudan.

3. National Bank of Egypt i owned by
a, totaling plus accrued interest, is subject to execution to satisfy

the Plaintiffs’ outstanding judgment.

4. The Court hereby directs National Bank of Egypt to turn over the proceeds of

a totaling BR together with any accrued interest, to the

Plaintiffs within ten (10) days from the date of this Order.

5. An OFAC license is not necessary to disburse these funds and no notice is

necessary to EN . See Heiser v. Bank of Tokyo Mitsubishi UFJ, New York

Branch, 919 F. Supp. 2d 411, 422 (S.D.N.Y. 2013); Heiser v. Islamic Republic of Iran, 807 F.
Supp. 2d 9, 23 (D.D.C. 2011); Weininger v. Castro, 432 F. Supp. 2d 457 (S.D.N.Y. 2006).
6. This Order enforces a duly registered District Court judgment from the District of

Columbia, recognized by a New York Federal Court and given full faith and credit by this Court.

SO ORDERED.

CO-

ANALISA TORRES
United States District Judge

Dated: October 23, 2013
New York, New York

 
